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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                               CRIMINAL NO. 05-10037-GAO-1

                               UNITED STATES OF AMERICA

                                                 v.

                                         GRANT BOYD,
                                           Defendant.


                                            ORDER
                                       September 24, 2014

O’TOOLE, D.J.


       In 2006, pursuant to a written plea agreement (dkt. no. 124), Grant Boyd pled guilty to a

superseding indictment charging him with possession of methamphetamine with intent to

distribute in violation of 21 U.S.C. § 841, conspiracy to distribute methamphetamine in violation

of 21 U.S.C. § 846, and conspiracy to launder money in violation of 18 U.S.C. § 1956(h). He

was sentenced to a statutory mandatory minimum term of 240 months pursuant to 21 U.S.C. §

841(b)(1)(A), with 10 years of supervised release to follow.

       The plea agreement reserved to Boyd the right to appeal from the denial of a motion to

suppress, but otherwise contained his express waiver of his right to appeal or collaterally

challenge his conviction and the sentence that was imposed. The plea agreement provided:

       Defendant is aware that he has the right to challenge his sentence and guilty plea
       on direct appeal. Defendant is also aware that he may, in some circumstances, be
       able to argue that his plea should be set aside, or his sentence set aside or reduced,
       in a collateral challenge (such as pursuant to a motion under 28 U.S.C. § 2255).

       In consideration of the concessions made by the U.S. Attorney in the Agreement,
       Defendant knowingly and voluntarily waives his right to appeal or collaterally
       challenge:
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               (1)    Defendant’s guilty plea and any other aspect of Defendant’s
               conviction, except the District Court Order denying Defendant’s pretrial
               suppression motion, which appeal is specifically preserved by this
               Agreement; and

               (2)    The imposition by the District Court of a sentence which does not
               exceed that being recommended by the U.S. Attorney pursuant to this
               agreement.

       Defendant’s waiver of rights to appeal and to bring collateral challenges shall not
       apply to appeals or challenges based on new legal principles in First Circuit or
       Supreme Court cases decided after the date of this Agreement which are held by
       the First Circuit or Supreme Court to have retroactive effect. This waiver shall
       also not apply to Defendant’s appeal of the District Court’s denial of Defendant’s
       motion to suppress evidence, which appeal is specifically preserved by this
       Agreement.

(Plea Agreement at 5-6 (dkt. no. 124).)

       The defendant did appeal the order denying his pretrial suppression motion, but the order

was upheld by the Court of Appeals. Notwithstanding his waiver regarding other matters

affecting his conviction or sentence, the defendant has filed a petition to vacate his sentence

pursuant to 28 U.S.C. § 2255.

       In his petition, the defendant argues that (1) he did not enter into the agreement to waive

his review rights knowingly and voluntarily; (2) he received constitutionally ineffective

assistance of counsel; (3) he has a claim of actual innocence because under United States v.

Santos, 533 U.S. 507 (2008), his conduct did not violate 18 U.S.C. § 1956(h). By late

amendment of his petition, he also claims a violation of due process.

       A.      Waiver of Review Rights

       Waiver of collateral review rights is enforceable if the defendant entered into the

agreement “knowingly and voluntarily.” United States v. Teeter, 257 F.3d 14, 24 (1st Cir. 2001).




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Additionally, the court must have “inquire[d] specifically at the change-of-the-plea hearing into

any waiver of appellate rights.” Id.

       Boyd argues that his plea was not knowing or voluntary. This argument is without merit.

In the first place, the language of the “Waiver of Rights to Appeal and to Bring Collateral

Challenge” was clear and specific. It was not obscure or abrupt boilerplate, but rather was

tailored specifically to his situation. It made clear there were some things he could appeal or

challenge – the denial of his suppression motion, any sentence above what the government

recommended, and any retroactive new rules – and some things he could not – everything else.

Boyd signed the letter under an affirmation that he had read and understood it, that he had

discussed it with his attorney, and that the letter agreement set forth the actual agreement he had

made with the government.

       Moreover, consistently with Teeter and Rule 11 of the Federal Rules of Civil Procedure,

Boyd, under oath, affirmed in the Court’s colloquy with him the following: (i) that he had

personally read the plea agreement more than once, (ii) that he had discussed it with his attorney,

who had been able to answer any questions he had, (iii) that he had signed the plea agreement to

signify his agreement with its terms, (iv) that he understood the significance of the waiver

provision, and (v) that he had discussed it specifically with counsel. (See Tr. of Plea Hr’g,

passim (dkt. no. 236).) It does not appear that Boyd simply gave rote answers to the Court’s

questions; at one point he sought clarity about the agreement concerning his right to appeal a

sentence that exceeded the government’s recommendation. (Id. at 18-20.) He also affirmed that

his decision to plead guilty was his own personal decision and that no one was trying to pressure

him against his will to plead guilty. (Id. at 26-27.)




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        “A defendant is normally bound by the representations that he himself makes in open

court at the time of his plea.” United States v. Gates, 709 F.3d 58, 69-70 (1st Cir. 2013). Such

representations “are more likely to be reliable than later versions prompted by second thoughts.”

United States v. Padilla-Galarza, 351 F.3d 594, 598 (1st Cir. 2003). There is no reason to find

Boyd’s waiver of review rights in his plea agreement to have been uninformed or involuntary

other than his latter-day ipse dixit, and that is wholly insufficient.

        B.      Ineffective Assistance of Counsel

        As a variation on the theme, Boyd argues that his attorney rendered constitutionally

ineffective assistance in advising him to enter into the plea agreement, with the consequence that

he should be relieved of that agreement and the plea that ensued. To prove that counsel was

constitutionally ineffective, the defendant must show that counsel’s performance fell below an

objectively reasonable standard of acceptable professional performance and thus prejudiced the

defendant. Strickland v. Washington, 466 U.S. 668, 687 (1984). Boyd’s claim satisfies neither

aspect of the Strickland standard.

        Strickland authorizes a “strong presumption that counsel’s conduct falls within the wide

range of reasonable professional assistance.” Id. at 689. Boyd’s argument apparently relies on an

asserted conflict of interest on the part of counsel, but the “facts” he relies on are garbled. Prior

to his plea agreement and plea, an issue arose whether his retained lawyer’s fee was being paid

by a third party, perhaps in the interest of a co-defendant. The magistrate judge presiding over

pretrial matters held a hearing, concluded that no disqualifying conflict existed, but nonetheless

advised the defendant that it might be possible to revisit in the future the appointment of counsel

for him under the Criminal Justice Act. Boyd latterly attempts to characterize the magistrate

judge’s comments as an iron-clad promise of new counsel, the breach of which denied him due



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process, but the relevant transcript belies that argument entirely. In any event, his counsel at the

time of the plea agreement and plea was neither of the lawyers involved in the claimed fee

payment conflict. Moreover, as indicated by the transcript, Boyd at the time of his plea

pronounced himself satisfied with his then-counsel’s representation. (See Tr. of Plea Hr’g at 23

(dkt. no. 236).)

       Boyd later became unhappy with that lawyer, and on his pro se motion the Court

appointed a CJA lawyer to represent him through sentencing. It is significant that, prior to

sentencing, the new lawyer raised no issue concerning the voluntariness of the plea agreement

(including the waiver of review rights) or plea, as he almost surely would have if that had been

an issue Boyd was then concerned about.

       In sum, there is simply no substantial basis in the record for the assertion that the lawyer

who represented and advised Boyd at the time of his plea agreement and plea rendered

constitutionally ineffective assistance to him. To the contrary, the plea agreement included some

concessions by the government beneficial to the defendant, notably including the right to appeal

the suppression order or any unexpectedly high sentence.

       Nor could Boyd establish any Strickland prejudice. The evidence of his guilt of the

crimes charged, unless suppressed, was overwhelming. At the plea colloquy he acknowledged

his factual guilt. (Id. at 27-33.) Because of the quantity of drugs involved and the existence of a

prior conviction, he was subject to a statutory mandatory minimum sentence of 20 years. No

sentencing argument by counsel could have changed that, but counsel had negotiated a

reservation of the right to appeal a higher sentence. In the event, the Court imposed the

mandatory minimum. No prejudice has been shown.




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C.     “Actual Innocence”

       Boyd claims “actual innocence” of the money laundering charge based on his

interpretation of United States v. Santos, 553 U.S. 507 (2008). This claim is not precluded by his

waiver, because it falls within the plea agreement’s exception for “appeals or challenges based

on new legal principles in First Circuit or Supreme Court cases decided after the date of this

Agreement which are held by the First Circuit or Supreme Court to have retroactive effect.”

(Plea Agreement at 6 (dkt. no. 124).)

       In Santos, the Supreme Court held that the term “proceeds” in 18 U.S.C. § 1956(a)(1)

means “profits,” rather than “gross receipts.” Santos, 533 U.S. at 527. That interpretation

avoided the possible impermissible merging of the predicate offense of illegal gambling with the

crime of money laundering. Id. at 515. Although the First Circuit has not specifically addressed

the particular issue where the crime underlying the money laundering count was a drug crime

and not a monetary crime as in Santos, other circuits have held in cases involving underlying

drug offenses that the Santos distinction between “profits” and “gross receipts” is inapplicable.

See United States v. Quinones, 635 F.3d 590, 600 (2d Cir. 2011); United States v. Spencer, 592

F.3d 866, 879 (8th Cir. 2010); United States v Webster, 623 F.3d 901, 906 (9th Cir. 2010);

United States v. Demarest, 570 F.3d 1232, 1242 (11th Cir. 2009). The First Circuit has signaled

that it is likely to reach the same conclusion in an appropriate case. See United States v. Bucci,

582 F.3d 108, 123-24 (1st Cir. 2009). Boyd’s claim in this respect lacks merit.

       For the reasons set forth above, Boyd’s motion to vacate his sentence pursuant to 28

U.S.C. § 2255 (dkt. no. 293) is DENIED.

       It is SO ORDERED.

                                                    /s/ George A. O’Toole, Jr.
                                                    United States District Judge


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